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 1                                                                The Honorable Ricardo S. Martinez

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 8                              UNITED STATES DISTRICT COURT

 9                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE

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11      SECURITIES AND EXCHANGE                             Case No.: 2:22-cv-01388-RSM
        COMMISSION,
12
                                    Plaintiff,              CLERK’S ORDER OF DEFAULT
13                                                          AGAINST DEFENDANT JUSTIN
                v.                                          COSTELLO
14
        JUSTIN COSTELLO and
15      DAVID FERRARO

16                                  Defendants.
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18          Defendant Justin Costello, being properly served with a Summons, Complaint on

19   December 12, 2022, and thereafter failing to provide an Answer or other response in this matter;

20   and the Court having examined the pleadings and motions filed herein, and the Court having

21   made its review of the same,

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25   CLERK’S ENTRY OF DEFAULT                                               Securities and Exchange Commission
     SEC V. COSTELLO ET AL.                                                         100 Pearl Street, Suite 20-100
                                                                                      New York, NY 10004-2616
                                                                                                  (212) 336-1100
              Case 2:22-cv-01388-RSM Document 14 Filed 01/24/23 Page 2 of 2




 1          NOW, THEREFORE, IT IS ORDRED, ADJUDGED AND DECREED the Defendant

 2   Justin Costello hereby is found to be in default in the above-captioned action. At the direction of

 3   the Court, the Clerk enters this order accordingly.

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 5          DATED this 24th day of January, 2023.

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                                         RAVI SUBRAMANIAN, Clerk of Court
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 8                                           s/ Laurie Cuaresma, Deputy Clerk

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24   CLERK’S ENTRY OF DEFAULT                        2                        Securities and Exchange Commission
     SEC V. COSTELLO ET AL.                                                           100 Pearl Street, Suite 20-100
                                                                                        New York, NY 10004-2616
25                                                                                                  (212) 336-1100
